Case 1:19-cr-00576-BMC Document 83 Filed 02/11/22 Page 1 of 3 PageID #: 1237


                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
RCH/SK/EMR/PP/MED                                  271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   February 11, 2022

By FedEx

Cesar DeCastro, Esq.
7 World Trade Center, 34th Floor
New York, NY 10007

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order. See
Dkt. No. 19. The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:

                                         Documents received from Mexican
           0001070852-0001071558
                                         Government

                                         Documents received from J. Castro &
           0001071559-0001071581
                                         Associates
                                         Documents received from Capote & Capote,
           0001071582-0001072050
                                         PA
                                         Documents received from Stephan Cohen,
           0001072051-0001072058
                                         Esq.

                                         Documents received from Kahane &
           0001072059-0001072119
                                         Associates
                                         Documents received from Alliance Title
           0001072120-0001072377
                                         Escrow Group, LLC

           0001072395-0001072692         Documents received from Carlton Fields PA
Case 1:19-cr-00576-BMC Document 83 Filed 02/11/22 Page 2 of 3 PageID #: 1238




                                 Documents received from Chemtov Mortgage
        0001072693-0001073017
                                 Group
                                 Documents received from First American
        0001073018-0001073040
                                 Title
                                 Documents received from Lisa I. Glassman,
        0001073041-0001073167
                                 Esq.
                                 Documents received from Marrero &
        0001073168-0001073168
                                 Associates
                                 Documents received from Serber &
        0001073169-0001073315
                                 Associates

        0001073316-0001073331    Documents received from Smith Hawks, PL


        0001073332-0001073798    Documents received from Bank of America


        0001073799-0001081308    Documents received from Citibank

        0001081309-0001081610    Documents received from Truist Bank

                                 Documents received from Kapital
        0001081611-0001081920
                                 Management
                                 Documents received from University of
        0001081921-0001081961
                                 Miami

        0001081962-0001082053    Certified Immigration Documents

        0001082054-0001082286    Files from the defendant’s Apple laptop
                                 Documents received from Mexican
        0001082287-0001119209
                                 Government
                                 Documents received from Sabadell United
        0001119210-0001127096
                                 Bank
                                 Documents received from Greenberg Traurig
        0001127097-0001127428
                                 LLP

        0001127429-0001127430    Emails and WhatsApp communications


        0001127431-0001127465    Documents received from Angelo & Banta PA



                                      2
Case 1:19-cr-00576-BMC Document 83 Filed 02/11/22 Page 3 of 3 PageID #: 1239




             0001127466-0001130995         Documents received from Wells Fargo

                                           Documents received from Rennert Vogel
             0001130996-0001135199
                                           Mandler & Rodriguez PA


                If you have any questions or requests regarding further discovery or a disposition
of this matter, please do not hesitate to contact me.

                                                     Very truly yours,

                                                     BREON PEACE
                                                     United States Attorney

                                             By:      /s/
                                                     Ryan C. Harris
                                                     Saritha Komatireddy
                                                     Erin M. Reid
                                                     Philip Pilmar
                                                     Marietou E. Diouf
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF) (without enclosures)




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